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   9
                               UNITED STATES DISTRICT COURT
  10
                          CENTRAL DISTRICT OF CALIFORNIA
  11
                                        WESTERN DIVISION
  12
       R.J. BEABER and A.W. CLARK,               2:21-cv-06558-MWF(KSx)
  13
                          Plaintiffs,                   NOTICE OF VOLUNTARY
  14                                                  DISMISSAL OF PLAINTIFF R.J.
                          v.                                   BEABER
  15
       SHIRLEY N. WEBER, as California
  16   Secretary of State,
  17                                                    Judge Michael W. Fitzgerald
  18
                           Defendants.

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  20         Pursuant to Fed. R. Civ. P. Rule 41(a)(1)(i), plaintiff R.J. Beaber is

  21   dismissed voluntarily from this action.
  22                                    Respectfully submitted,
  23                              YAGMAN + REICHMANN, LLP
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  25                                By:    /s/ Stephen Yagman
  26
                                          STEPHEN YAGMAN

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